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 2   San Francisco, California 94104
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 4
     Proposed Attorney for Penny Lee Patino
 5   Debtor and Debtor in Possession
 6

 7                               UNITED STATES BANKRUPTCY COURT
 8                               NORTHERN DISTRICT OF CALIFORNIA
 9    Penny Lee Patino,                                Case No: 17-43082 RLE
10                        Debtor.                      Chapter 11
11                                                      DECLARATION OF JOHN T. HANSEN IN
                                                          SUPPPORT OF APPLICATION FOR
12
                                                                  AUTHORITY TO
13                                                     EMPLOY JOHN T. HANSEN AS COUNSEL
                                                          TO THE DEBTOR IN POSSESSION
14

15          I, John T. Hansen declare:
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            1.     I am an attorney at law duly admitted to the practice of law in the State of
17
     California and in all courts of the United States in California, including the Northern District of
18
     California. My business address is 582 Market Street, 17th Floor, San Francisco, California
19
     94104. Penny Lee Patino, the debtor and debtor in possession (“Debtor”) wishes to employ
20

21   me as her chapter 11 counsel in the above-captioned case. This declaration is submitted

22   pursuant to 11 U.S.C. § 327, Rule 2014(a), F.R. Bank. P. and in support of the application to
23   employ counsel filed here by the Debtor.
24
            2.     The matters stated in this declaration are known to me of my own personal
25
     knowledge, and, if called as a witness, I would be competent to so testify.
26
            3.     I have over 50 years of practicing bankruptcy law, especially in chapter 11 cases.
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     A copy of my biography is attached hereto.
 1

 2          4.     It is necessary for the Debtor to employ counsel to provide at least the following

 3   services: 1) assist the Debtor in performing her duties as a debtor in possession, 2) prepare a

 4   plan and disclosure statement and obtain confirmation of the plan; and 3) represent Debtor in
 5
     any contested matters or adversary proceedings.
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            5.     I am a disinterested person within the meaning of 11 U.S.C. § 101(14) in that
 7
     I (a) am not a creditor or insider of the Debtor, (b) am not and was not within two years before
 8
     the date of this application a partner or employee of the Debtor, and (c) do not have an interest
 9

10   materially adverse to the interests of the estate or of any class of creditors or equity holders.

11          6.     I do not have any connection with the Debtor, creditors, any other party in
12   interest, or their respective attorneys and accountants, the United States Trustee, any person
13
     employed in the office of the United States Trustee, or any insider of the Debtor. I do not
14
     employ any person who is related to a judge of this court or the United States Trustee for
15
     Region 17.
16

17          7.     There is no arrangement between me and any other person for the sharing of

18   fees for this case.

19          I declare under penalty of perjury of the laws of the State of California that I have read
20   the foregoing, that it is true and correct to the best of my knowledge, and that I would be
21
     competent to so testify.
22
            Executed at San Francisco, California, on October 18, 2018
23

24                                              _______/s/ John T. Hansen_______
25                                                      John T. Hansen

26

27
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